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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


 EVAN MILLIGAN, et al.,

                Plaintiffs,
                                                             No. 2:21-cv-01530-AMM
                vs.

 WES ALLEN, et al.,

                Defendants.


                        Expert Remedial Report of Baodong Liu, Ph.D.
                                        July 28, 2023

I have been asked by Counsel for the Plaintiffs to analyze and provide my opinions on the
effectiveness of the “Livingston Plan 3” in enacted Senate Bill 5 (hereinafter, the “Livingston
Plan”). This report summarizes the results of my Effective Analysis (EA).

My EA is based on the eleven biracial elections between 2014 and 2022. These eleven elections
are all statewide general elections: the 2014 Secretary of State, the 2014 Lt. Governor, the 2014
State Auditor, the 2018 Lt. Governor, the 2018 State Auditor, the 2018 Public Service
Commission (Place 1), the 2022 Gubernatorial, the 2022 US Senate, the 2022 Secretary of State,
the 2022 Attorney General, and the 2022 Alabama Supreme Court Associate Justice (Place 5)
elections. In my December 20, 2021 report, I also examined the 2020 Presidential election where
both major political parties featured a white candidate on the top of the ticket, but Kamala Harris,
a Black woman, was the Vice Presidential Candidate for the Democratic Party. Thus, this report
also references the 2020 Presidential election. In total, this report examines how the Livingston
Plan performs in these twelve elections in Congressional Districts 2 and 7 of the Livingston Plan
where Black Voting Age Population (BVAP) is substantially larger than those of the other five
Congressional districts. I also compare the Livingston Plan’s performance in these two districts
with the performance of the existing CD2 and CD7 based on the 2021 Enacted Plan.

My conclusion is that voting is highly racially polarized in CD2 and CD7 in the Livingston Plan
and that this racial polarization in the Livingston Plan produces the same results for Black
Preferred Candidates in both CD2 and CD7 as the results in the 2021 Enacted Plan. I provide
summary of my professional qualifications as a CV in Appendix I and the cases for which I
testified as an expert witness in Appendix II.

I am being compensated at $300 per hour for my work in this report. My compensation is not
contingent on or affected by the substance of my opinions or the outcomes of this litigation.


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                             Method and Data Used in this Report

As in my preliminary report for this case executed on December 10, 2021, the method I used for
the estimates of racial group voting and turnout is called Ecological Inference (EI) developed by
Harvard Professor Gary King. This report continues to use the same EI method and the EI R-
software to calculate the racial groups’ vote choice in the 12 elections within CD2 and CD7 of
the Livingston Plan. Furthermore, this EA report, just like my original preliminary report
continues to report the findings concerning the exact percentage of votes cast for each candidate
based on the tally of the votes in the 12 elections within CD2 and CD7. The data acquisition,
processing and aggregation of this report is also the same process used in writing my preliminary
report (see Appendix of my preliminary report).

                            Effectiveness Analysis Concerning CD2

In CD2, based on the measure of non-Hispanic Black alone measure, the Livingston Plan raises
the BVAP to 38.8% of the Total Voting Age Population (TVAP) from the original 29%.1 But the
white VAP (WVAP) in the Livingston Plan is still as high as 52.5% of TVAP whereas it was
62.1% in the original 2021 Enacted Plan. Despite the differences between the racial
configuration of the Livingston Plan and the 2021 Enacted Plan, the 11 biracial elections led to
the same election outcomes due to the consistent high-level of racially polarized voting (RPV) as
I show in Table 1 to this report. All Black-preferred-candidates (BPCs) in the 11 biracial
elections were defeated in both the 2021 Enacted Plan and the Livingston Plan.2 Furthermore,
my EA shows how RPV helped White-Preferred Candidates (WPCs) defeated BPCs in CD2 of
the Livingston Plan (See Table 1 for the detailed RPV in the 11 biracial elections analyzed in this
report). While not included in Table 1, I also found high RPV in the 2020 presidential election
with the BPCs (Biden/Harris) receiving 90.8% (84-94) of the Black vote, and only 8.9% (6-14)
of the white vote. In the 2020 presidential election, Biden and Harris were defeated with only
43.5% of the total vote in Livingston CD2.




1
  Using any-part Black VAP measure, the BVAP is increased to 39.9% in CD2. This report uses
the Non-Hispanic Black voting age population as the measure of BVAP in the EA and RPV
analyses. However, using any-part Black VAP to run the same analyses leads to the same
conclusions stated in this report.
2
 All BPCs are Black candidates in the biracial elections analyzed, with the only exception of the
2020 Presidential Election where BPCs are the Biden and Harris ticket. See Table 1 for the
detailed votes for the candidates in the 11 biracial elections based on EA of Livingston’s CD2.



                                                                                                  2
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        Table 1: RPV in the 11 Biracial Elections based on the Livingston Plan, CD2

            Election      Black Pref-    White Pref-     % vote        Black       White     BPC Won      RPV?
                             Cand          Cand          cast for     Support     Support        in
                                                         BPC in      for Black   for Black   Livingston
                                                        Livingston     Cand        Cand        Plan?
                                                           Plan      (95% CI)    (95% CI)
            2022            Yolanda       Kay Ivey        37.8%        94.0%       4.9%         No        Yes
           Governor         Flowers                                   (90-96)      (4-6)


            2022 US        Will Boyd      Katie Britt     38.8%        93.5%       6.0%         No        Yes
             Senate                                                   (89-96)      (4-9)


             2022           Wendell        Steve          39.3%        94.3%       6.3%         No        Yes
            Attorney        Major         Marshall                    (91-97)      (5-8)
            General

             2022           Pamela        Wes Allen       39.4%        94.2%       6.0%         No        Yes
          Secretary of      Laffitte                                  (90-97)      (4-9)
             State

              2022        Anita Kelly      Bradley        39.9%        94.2%       6.6%         No        Yes
           Supreme                          Byrne                     (91-97)     (5-10)
             Court,
             Place 5
              2018         Will Boyd        Will          46.0%        93.6%       6.3%         No        Yes
          Lt Governor                     Ainsworth                   (91-96)     (5-10)


              2018          Miranda       Jim Zigler      46.9%        94.2%        8.2         No        Yes
          State Auditor     Joseph                                    (90-97)     (6-13)


          2018 Public       Cara         Jeremy Oden      46.9%        95.7%       6.5%         No        Yes
            Service        McClure                                    (93-97)     (5-10)
          Commission,
            Place 1
             2014         Lula Albert-   John Merrill     43.6%        91.5%       6.2%         No        Yes
          Secretary of      Kaigler                                   (88-94)      (5-8)
             State

             2014         James Fields    Kay Ivey        43.4%        91.3%       6.3%         No        Yes
          Lt Governor                                                 (88-93)      (4-9)


              2014          Miranda       Jim Zigler      41.7%        88.0%       9.1%         No        Yes
          State Auditor     Joseph                                    (81-91)     (6-14)




        As shown in Table 2, the BPCs in all 12 elections (including the 2020 presidential
election) received on average 32.2% of the total votes cast from the Enacted Plan in CD2, and
42.3% in Livingston CD2.




                                                                                                                 3
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            Table 2: Overall Performance in CD2 based on 12 Elections, Compared3

                        2021 Enacted Plan
                                   Blk_pref_cand % Wht_pref_cand %
                       White               5.1          94.0
                       Black              89.8           9.2
                       Total              32.2          65.0

                        2023 Livingston Plan
                                   Blk_pref_cand % Whte_pref_cand %
                       White               7.2           91.8
                       Black              92.7            6.5
                       Total              42.3           53.7


                             Effectiveness Analysis Concerning CD7

The Livingston Plan reduces the BVAP of CD7 to about 50% from originally more than 54% in
the Enacted Plan, and the WVAP at the same time is increased from about 39% to 43%. This new
racial configuration makes WPCs more competitive in CD7. As shown in Table 4, WPCs
received on average 40.8% of the total votes cast in the twelve elections analyzed in this report.
BPCs in the Livingston Plan, however, still maintain their winning advantage as they won 12 out
of 12 times (including the 2020 presidential election) according to my EA findings. The BPCs
received an average of 60% of the votes in CD7 in the Livingston Plan and 64% in the 2021
Enacted Plan.




3
    Tables 2 and 4 show the average values based on the RPV analyses of all 12 elections.

                                                                                                4
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     Table 3: RPV in the 12 Elections based on the Livingston Plan, CD7

    Election      Black Pref-    White Pref-     % vote        Black     White    BPC Won      RPV?
                     Cand          Cand          cast for    Support    Support       in
                                                 BPC in      for BPC    for BPC   Livingston
                                                Livingston     (95%       (95%      Plan?
                                                   Plan         CI)        CI)
     2022           Yolanda       Kay Ivey        56.7%        96.3%     10.8%       Yes       Yes
    Governor        Flowers                                   (95-97)    (9-14)


    2022 US        Will Boyd      Katie Britt     57.8%       96.4%      13.2%       Yes       Yes
     Senate                                                  (96-97)    (12-16)


     2022           Wendell        Steve          57.9%       96.3%      14.4%       Yes       Yes
    Attorney        Major         Marshall                   (95-97)    (12-17)
    General

      2022          Pamela        Wes Allen       58.4%       96.2%      13.7%       Yes       Yes
   Secretary of     Laffitte                                 (94-97)    (12-15)
      State

      2022        Anita Kelly      Bradley        58.3%       96.1%      14.9%       Yes       Yes
    Supreme                         Byrne                    (94-97)    (13-17)
     Court,
     Place 5
    2020 US       Biden/Harris   Trump/Pence      61.6%       94.4%      17.0%       Yes       Yes
    President                                                (93-96)    (14-22)


    2018 Lt        Will Boyd        Will          62.9%       96.1%      13.6%       Yes       Yes
    Governor                      Ainsworth                  (94-97)    (12-17)


   2018 State       Miranda       Jim Zigler      63.1%       96.2%       15.6       Yes       Yes
    Auditor         Joseph                                   (95-97)    (12-22)


  2018 Public       Cara         Jeremy Oden      63.7%       95.3%      14.8%       Yes       Yes
    Service        McClure                                   (93-97)    (12-20)
  Commission,
    Place 1
     2014         Lula Albert-   John Merrill     59.3%       92.5%     11.0%        Yes       Yes
  Secretary of      Kaigler                                  (90-94)    (9-15)
     State

    2014 Lt       James Fields    Kay Ivey        59.1%       92.4%      12.2%       Yes       Yes
    Governor                                                 (90-95)    (10-15)


      2014          Miranda       Jim Zigler      60.2%        92.9     12.8%        Yes       Yes
  State Auditor     Joseph                                   (91-95)    (9-18)




                                                                                                      5
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          Table 4: Overall Performance in CD7 based on 11 Elections, Compared

                      2021 Enacted Plan
                                 Blk_pref_cand % Wht_pref_cand %
                     White              13.2          85.9
                     Black              94.8           4.3
                     Total              64.6          36.2

                      2023 Livingston Plan
                                 Blk_pref_cand % Wht_pref_cand %
                     White              14.4          84.6
                     Black              93.8           5.2
                     Total              60.0          40.8

                                          Conclusion

My EA shows that the Black Preferred Candidates are likely to win elections in only CD7 under
both the Livingston Plan and the 2021 Enacted Plan. The marginal increase of BVAP in CD2 in
the Livingston Plan will continue to provide white preferred candidates, rather than Black
preferred candidates, a significant advantage there.

To the best of my knowledge, I declare under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct.

Executed on July 28, 2023.


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BAODONG LIU, PH.D.




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                                             Appendix I
                                           Curriculum Vitae

                                         Baodong Liu, Ph.D.
                    Professor (with Tenure) in Poli:cal Science and Ethnic Studies
                                          University of Utah
                   260 S. Central Campus Drive, Room 3231, Salt Lake City, UT 84112
                            Tel: Oﬃce (801) 585 7987; Fax: (801) 585 6492
                                       baodong.liu@utah.edu

PROFESSIONAL EXPERIENCE

Director of Graduate Studies, 2023-present
Professor of Poli9cal Science and Ethnic Studies, aﬃliated with Asian Studies, 2008-present
Associate Chair, Poli9cal Science Department, 2015-2017
Interim Director, Ethnic Studies Program, 2011-2013
University of Utah
    Courses taught: Advanced QuanVtaVve Methods (graduate), American PoliVcal Behavior (graduate),
    Race and PoliVcal VolaVlity in the US (graduate/undergraduate), VoVng, ElecVon and Public Opinion,
    Racial and Ethnic PoliVcs, PoliVcal Analysis, Asian American Contemporary Issues, Social JusVce and
    Inequality, Asian Paciﬁc American Experiences, Methodology in Ethnic Studies.

TRISS Endowed Professor in Poli9cal Science, 2007-2008
Associate Professor (early promoVon to associate professor 2005, early tenure 2006)
Assistant Professor, 2002-2005
Department of PoliVcal Science
University of Wisconsin-Oshkosh
    Courses taught: Race and Ethnicity in American PoliVcs, PoliVcs of Urban Growth, PoliVcal Method,
    State and Local Government, PoliVcal Analysis, American Government, NaVonal, state and Local
    Government.

Assistant Professor of Poli9cal Science
Department of PoliVcal Science
Stephens College, Columbia, Missouri, 1999 - 2002
     Courses taught: Urban and Minority PoliVcs, LegislaVve Process, American Presidency, Campaigning
     and Lobbying, Macroeconomics, American Government, and IntroducVon to StaVsVcs.

Consultant, Expert Witness, Principal Inves9gator, Opinion Writer/Commentator, 2000-present
    Provided research services to NAACP LDF, Southern Poverty Law Center, the US Department of
    Justice, New America, Mexican American Legal Defense and Educational Fund, Navajo Nation,
    Native American Rights Fund, Southern Coalition for Social Justice, National Science Foundation,
    Lawyers’ Committee for Civil Rights Under Law, Florida State Legislature, Illinois State
    Legislature, Wisconsin Security Research Consortium, Fond du Lac School District, Johnson
    Controls, Inc, City of Waupaca (WI), and Wisconsin Public Service, among others.

Served also as a commentator and/or opinion writer for Salt Lake Tribune, ABC4News, Hinkley Forum,
NPR, AP, Daily Utah Chronicle, ETtoday, Chinese Americans, Milwaukee Sentinel Journal, Daily Caller,
KSL, among other media outlets.



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EDUCATION

Ph.D. in PoliVcal Science (1999), University of New Orleans, Louisiana
DissertaVon: Black Candidates, White Voters and Racial Context
Winner of Byran Jackson Award, Urban PoliVcs SecVon, American PoliVcal Science AssociaVon, and
Winner of Ted Robinson Award for the best research in race and ethnicity, Southwestern PoliVcal Science
AssociaVon

M.A. in Poli9cal Science (1995), Oklahoma State University, SVllwater, Oklahoma

LL. B (1987), The East China University of PoliVcal Science and Law, Shanghai, China

Post-Doctoral Educational Program Participant

Na9onal Science Founda9on’s “Local Elec9ons in America Project Workshop,” Macalester College, Saint
Paul, MN (2009)

Methodological Issues in Quantitative Research on Race and Ethnicity, Inter-University Consortium for
Political and Social Research (ICPSR), University of Michigan (2006)

Mapping Your City with GIS Workshop, New Urban Research, Madison, Wisconsin (2005)

Jessie Ball duPont Summer Seminars for Liberal Arts College Faculty, the National Humanities Center,
Research Triangle, North Carolina (2001)

PROFESSIONAL PUBLICATIONS (contribuVon is in the order of authors for publicaVons with mulVple
authors).

A) Books

Liu, Baodong. Ed. (2nd edition, 2023). Solving the Mystery of the Model Minority: The Journey of Asian
Americans in America. Cognella Academic Publishing.

Liu, Baodong. (2022). Political Volatility in the United States: How Racial and Religious Groups Win
and Lose. Lexington Books. Reviewed by Choice.

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Liu, Baodong. (2015). Social Research: Integrating Mathematical Foundations and Modern Statistical
Computing. Cognella Academic Publishing.

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Readers.

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Hanes Walton, Jr. (2012) for The American Review of Politics.



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also reviewed by Robert Dupont (2008) for H-Urban.

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Liu, Baodong. (2014). “Post-Racial PoliVcs? Counterevidence from the PresidenVal ElecVons, 2004-2012.”
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Liu, Baodong. (2014). “Racial Context and the 2008 and 2012 US PresidenVal ElecVons.” Athens Journal
of Social Sciences 1(1): 21-33.

Liu, Baodong. (2011). “DemysVfying the ‘Dark Side’ of Social Capital: A ComparaVve Bayesian Analysis of
White, Black, LaVno, and Asian American VoVng Behavior.” The American Review of Poli9cs 32 (Spring):
31-56.

Byron D’Andra Orey, L. Marvin Overby, Pete Hatemi and Baodong Liu. (2011). “White Support for Racial
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Liu, Baodong. (2016). “Lu Xun’s Ajack on Old Chinese Regime and St. AugusVne’s Self ExaminaVon,”
Overseas Campus (in Chinese).

Liu, Baodong. (2015). “Will ChrisVanity Bring about Democracy?” Overseas Campus 130 (June): 40-43. (in
Chinese)

Liu, Baodong. (2011). “New Ethnic Studies Major at the U: EducaVon for the 21st Century” Diversity
News 2011 (Fall). hjp://diversity.utah.edu/newslejer/fall-2011/ethnic-studies-degree.php.

Liu, Baodong (2008). “The Urban PoliVcs Field as We Know It.” Urban News 22 (1): 1-2.

Liu, Baodong. (2008). “NegaVve Campaigning a Desperate Strategy,” The Daily Utah Chronicle. Guest
Column. October 20, 2008.

Liu, Baodong. (2007). “The 2006 Midterm ElecVon: Angry Voters? Yes! Clear Vision? No!” Wisconsin
Poli9cal Scien9st XIII (2): 9-10.

Liu, Baodong. (2006). “Midterm ElecVon Results Show No Clear Future Vision.” Guest Column, Advance-
Titan. Nov. 9, 2006: A5.

Liu, Baodong and James Vanderleeuw. (2003). “Local Policymakers and Their PercepVons of Economic
Development: Suburbs, Central CiVes and Rural Areas Compared” Wisconsin Poli9cal Scien9st IX (1): 4-7.

SOFTWARE DEVELOPMENT/GRANTS




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Founder, www.easystates.com , a free web applicaVon and database of U.S. state poliVcs with more than
1000 variables and back to 1790s that empowers students and public to visualize and staVsVcally analyze
data on US poliVcs (wrijen in Python), 2021-present

diaglm, the author of the R soxware staVsVcal package for diagnosing and visualizaVon of violaVons of
linear and nonlinear staVsVcal modeling, published at GitHub (bblpo/diaglm). 2019.

diagglm, the author of the R soxware staVsVcal package for diagnosing and visualizaVon of violaVons of
nonlinear staVsVcal modeling, published at github (bblpo/diagglm). 2019.

Principal Investigator, with Co-Pi, Mike Cobbs (North Carolina State University) and Richard Engstrom
(University of Houston). “Understanding the Support for Ranked-Choice Voting,” initial grant proposal
supported by Political Reform Program, New America. Washington D.C. 2020. $40,000

Principal Investigator, “Authoritarianism in the Global Ethnic Chinese Communities”, a grant proposal
supported by University Sabbatical Leave and Asia Center Travel Award. 2020. $1500

Co-PI, with Dennis Wei (PI) and Chris Simon. “Amenity, Neighborhood and SpaVal Inequality: A Study of
Salt Lake County,” Interdisciplinary Research Pilot Program (IRPP), College of Social and Behavioral
Science, the University of Utah, 2015. $10,000.

Co-PI, with Daniel McCool. “The Eﬃcacy of American Indian VoVng: A Pilot Project”
Research Incentive Grant, College of Social and Behavioral Science, the University of Utah. (2014-2015).
$7500.

I have provided my Expert Witness Opinions on federal voVng rights cases such as South Carolina NAACP
et al. v. McMaster et al., Case No. 3-21-cv-03302-JMC-TJH-RMG (Columbia D., SC. 2021), Milligan, et al. v.
Merrill, et al., Case No. 2:21-cv-01530-AMM and Thomas, et al. v. Merrill, et al., Case No. 2:21-cv-01531-
AMM (N.D. Ala. 2021), Traci Jones et al vs. Jeﬀerson County Board of Educa9on et al, (N.D. Ala. 2019);
CMA v. Arkansas (E.D. Ark., 2019); Alabama State Conference of the NAACP v. Pleasant Grove, (N.D. Ala.
2018); Navajo Na9on, et al, vs. San Juan County, et al, (D. Utah, 2012); League of Women Voters of
Florida, et al v. Detzner, et al, (Fla., 2012); Anne Pope et. al. v. County of Albany and the Albany County
Board of Elec9ons (N.D.N.Y. 2011); Radogno, et al v. State Board of Elec9ons, et al, (N.D. III. 2011);
NAACP v. St. Landry Parish et al, (W.D. La. 2003); Arbor Hill Concerned Ci9zens Neighborhood Associa9on
et al v. County of Albany (N.D.N.Y. 2003); Hardeman County Branch of NAACP v. Frost (2003).

Expert Instructor, Racially Polarized VoVng in Federal VoVng Rights Cases. NAACP LDF ConvenVon. 2021.

Expert Instructor, QuanVtaVve Analysis of Racially Polarized VoVng, NaVve American Rights Fund Training
Program. 2021.

Expert Instructor, Racially Polarized VoVng and PoliVcal ParVcipaVon: EI and EZI. Expert PreparaVon
Program, Community Census and DistricVng InsVtute. A grant supported by Ford FoundaVon and
Southern CoaliVon for Social JusVce, Duke University, Durham, North Carolina. 2010.

Principal InvesVgator, 2010-2012. A MulV-level Analysis of Obama Racial CoaliVon in 2008 and 2012. A
project funded by the PIG grant of College of Social and Behavior Sciences, the University of Utah.



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Recipient, Faculty SabbaVcal Grant, 2008. University of Wisconsin Oshkosh, grant oﬀered, but ﬁnally
declined the oﬀer due to job change.

Grant Director/Faculty Advisor, 2008. The WiscAMP program, NaVonal Science FoundaVon.

Principal InvesVgator, 2007. Wisconsin Research and Development Capacity Study. A project funded by
Wisconsin Security Research ConsorVum.

Principal InvesVgator, 2007. The Impact of Industrial Involvement on Science EducaVon in Wisconsin. A
project funded by Johnson Control, Inc.

Principal InvesVgator, 2007. The Impact of Fond du Lac School District on Local Economic Development.
A project funded by Fond du Lac School District.

EI Methodologist, 2007. Retrogressive Eﬀects of H.B. No. 1565 on LaVno Voters in the Bexar County
Metropolitan Water District, TX.

Principal InvesVgator, 2006. The Impact of Economic Development on CiVzen Opinions. A project funded
by City of Waupaca, Wisconsin Public Services.

Principal InvesVgator, 2006. Leading the Big Easy: Will the Biracial CoaliVon Sustain Katrina? InsVtute on
Race and Ethnicity, University of Wisconsin System. 2006.

Methodological Issues in QuanVtaVve Research on Race and Ethnicity, Inter-University ConsorVum for
PoliVcal and Social Research (ICPSR), InsVtute of Social Research, University of Michigan, 2006.

Oﬀ-Campus Program Grant, Faculty Development, the University of Wisconsin-Oshkosh, 2006.

GIS and Social Research, Small Research Grant, Faculty Development Program, the University of
Wisconsin-Oshkosh, 2005.

Principal InvesVgator, Gevng the White Votes. American PoliVcal Science AssociaVon Research Grant,
Washington D.C., 2003.

Principal InvesVgator, A ComparaVve Study of Urban ElecVons. Faculty Research Development Grant, the
University of Wisconsin-Oshkosh, Oshkosh, Wisconsin, 2004.

Principal InvesVgator, Gevng the White Votes. Faculty Research Development Grant, the University of
Wisconsin-Oshkosh, Oshkosh, Wisconsin, 2003.

Advanced Graduate Student Travel Grant, the American PoliVcal Science AssociaVon, 1999

AWARDS AND HONORS

“People’s Voice: Ranked-Choice VoVng Manifests Voter Values”, University of Utah Magazine, Fall 2021 (a
piece covering my research ﬁndings and grant on ranked-choice voVng)




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Nominee for the Career & Professional Development Center, Faculty Recogni9on Program, University of
Utah. 2018.

Winner of A Showcase of Extraordinary Faculty Achievements (for publica9on of my book, Social
Research: Integra9ng Mathema9cal Founda9ons and Modern Sta9s9cal Compu9ng. San Diego: Cognella
Academic Publishing), With commendaVon from the J. Willard Marrioj Library and the Oﬃce of the Vice
President for Research. University of Utah. 2016

Nominee for the Social and Behavior Science College Superior Research Award (senior scholar category),
nominated by the poliVcal science department in both 2011 and 2012.

Professor of Poli9cal Science (NaVonal 985-Plan Supported Foreign Scholar), Taught Summer Class at
School of Government, Nanjing University, Nanjing, China. 2012.

TRISS Endowed Professorship for Excellence, University of Wisconsin Oshkosh, 2007-8

Ar9nian Award for Professional Development, Southern PoliVcal Science AssociaVon, 2004

Byran Jackson Award for the best research/dissertaVon in racial and ethnic poliVcs in an urban sevng,
Urban PoliVcs SecVon, the American PoliVcal Science AssociaVon, 1999

Ted Robinson Award for the best research in race and ethnicity, Southwestern PoliVcal Science
AssociaVon, 1999

Who’s Who in America, 2001-2006, Marquis, USA.

Davis Summer Research Grant, Stephens College, 2001

Firestone Baars Grant for Faculty Development, Stephens College, 1999-2001

Vice President Discretion Grant for Research, Stephens College, 2001, 2000

Advanced Graduate Student Travel Grant, the American Political Science Association, 1999

Graduate Student Travel Grant, University of New Orleans, 1997

The Best Graduate Student Paper Award, Department of Political Science, Oklahoma State University,
1993

Pi Sigma Alpha, NaVonal PoliVcal Science Honor Society, 1994

PROFESSIONAL POSITIONS

Chair, PoliVcal Methodology SecVon, Southern PoliVcal Science AssociaVon, 2022-present

Member, Review Board, Journal of Behavioral and Social Sciences. 2019-present

Member, Board of Directors, NaVonal AssociaVon for Ethnic Studies, 2013-2015



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Editorial Board, Urban Aﬀairs Review, 2008-2011

Editorial Advisor, InternaVonal Encyclopedia of PoliVcal Science, CQ Press, 2005-2011

Editor, Urban News, Urban PoliVcs SecVon, American PoliVcal Science AssociaVon, 2004-2010

Chair, Urban PoliVcs Program, Southern PoliVcal Science AssociaVon Annual ConvenVon, 2008

Co-Chair, Asian Paciﬁc American Caucus, American PoliVcal Science AssociaVon, 2004-2006

Member, American PoliVcal Science AssociaVon Small Research Grant Commijee, 2005

AS A JUDGE OR REVIEWER OF WORKS OF OTHER SCHOLARS FOR ACADEMIC JOURNALS OR PRESSES

2001-present
PerspecVves; PoliVcs and Religion; American PoliVcal Science Review; Lexington Books; Journal of
Behavioral and Social Sciences; The NaVonal Science FoundaVon; Sage PublicaVons, W. W. Norton &
Company, Inc; McGraw Hill Publishing; Journal of PoliVcs; NaVonal PoliVcal Science Review, PoliVcal
Analysis; Social Science Quarterly; Urban Aﬀairs Review; PoliVcal Research Quarterly; PoliVcs and Policy;
Journal of Urban Aﬀairs; American PoliVcs Research; Public Opinion Quarterly; PoliVcal Behavior;
Sociological Methods and Research

PROFESSIONAL AND COMMUNITY SERVICES

Member, College Faculty Tenure and PromoVon Commijee, 2022-present

Chair, Faculty Tenure and PromoVon Commijee, Ethnic Studies Program, 2022-present

Co-Chair, EDI Commijee, PoliVcal Science, 2022-present

Member, European ConsorVum for PoliVcal Research, 2022-present

Judge, Graduate Student Research Day, College of Social and Behavioral Science, 2021

Reviewer, University URC Faculty Scholarly Grant Program, 2020

Chair, Faculty Tenure and PromoVon Commijee, PoliVcal Science, 2019-2020

Member, Curriculum Overhaul Commijee, Ethnic Studies, 2018-2019

Member, Faculty Tenure and PromoVon Commijee, PoliVcal Science, 2018-2019

Chair, Faculty Tenure and PromoVon Sub-Commijee, Ethnic Studies, 2017-2018

Member, Graduate Commijee, poliVcal science department, the University of Utah, 2014-2018

Member, ExecuVve Commijee, poliVcal science department, the University of Utah, 2014-2018



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Faculty Senator, the University of Utah, 2015-2018

Chair, American PoliVcs Field, poliVcal science department, the University of Utah, 2014-1018

Member, GC Building Commijee, Social Science Lab, 2015-2018

Expert Volunteer for Utah Fair RedistricVng Legal Team, 2017

Member, Assistant Vice President for Diversity Search Commijee, 2015-2016

Member, Ad Hoc Graduate Commijee for WriVng, 2015-2016

Chair, Faculty Joint Appointment Search Commijee, ethnic studies program and theatre department, the
University of Utah, 2014-2015

Member, Bejy Glad FoundaVon Commijee, poliVcal science department, the University of Utah, 2014-
2015

Chair, Awards Commijee, NaVonal AssociaVon for Ethnic Studies, 2014

Faculty Mentor to Junior Faculty, Department of PoliVcal Science, 2013-2018

Chair, University of Utah MLK Commijee. 2012-2013.

Member, Graduate School Dean Search Commijee, 2013.

Member, University Diversity Leadership Team, the University of Utah. 2010-2013.

Member, University Teaching Program Commijee, the University of Utah, 2011-2013.

Member, University Diversity Curriculum Commijee, Undergraduate Studies, the University of Utah,
2011-2013.

Judge, The Research Day of College of Social and Behavioral Science, 2011-2013.

Member, Organizing Commijee, InternaVonal Conference on UrbanizaVon and Development in China,
University of Utah, August 2010.

Member, RetenVon, PromoVon, and Tenure Commijee, Department of PoliVcal Science, the University
of Utah. 2011-2013.

Assistant Director, Ethnic Studies Program, the University of Utah. 2010-2011.

Commiiee Member, Undergraduate Studies, Department of PoliVcal Science, the University of Utah.
2009-2011.

Commiiee Member, Utah Opportunity Scholarship, the University of Utah, reviewing and making
decisions on more than 200 applicaVons. 2009-2010.


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Member, Ethnic Studies PosiVons ExploraVon Commijee, the University of Utah. 2009-2010.

Member, Marketing Committee, Department of Political Science, the University of Utah. 2009-2010.

Guest Speaker, “Obama and the 2008 Presidential Election: A Spatial Analysis” at the Graduate Seminar
titled Introduction of Survey Research in Higher Education. College of Education. The University of
Utah. Feb. 3, 2009.

Special Speaker, “Obama and the Minimum Winning CoaliVon” Ethnic Studies Works in Progress
PresentaVon. The University of Utah. Dec., 5, 2008.

Special Speaker, “ElecVon 2008: A Symposium,” Hinckley InsVtute of PoliVcs, University of Utah. October
6, 2008.

Special Speaker, “PredicVng the 2008 PresidenVal ElecVon Outcomes” PoliVcal Science Department, the
University of Utah. Sept. 25, 2008.

Poli9cal Commentator for reporVng from Salt Lake Tribune, AP, EFE Hispanic News Services, Milwaukee
Journal SenVnel, WHBY, KFRU radio staVons, the Post-Crescent, Oshkosh Northwestern, Columbia
Missourian, and the Daily Utah Chronicle. December 1999 to present.

Faculty Representa9ve for University of Wisconsin-Oshkosh, ICPSR, University of Michigan, 2007-2008

Member, Board of Trustees, Wisconsin InternaVonal School, 2007-2008

Member, UWO Oﬃce of InsVtuVonal Research Advisory Board, 2007-2008

President, Northeast Wisconsin Chinese AssociaVon, 2007 (execuVve vice president, 2006)

Member, Program EvaluaVon Commijee. College of Lejers and Science, University of Wisconsin-
Oshkosh, 2007-2008

Member, PoliVcal Science Curriculum, Center for New Learning, University of Wisconsin-Oshkosh, 2007-
2008

Moderator, Oshkosh City Forum, Mayoral Candidates’ Debates, March 23, 2005

Grant Reviewer, Faculty Development Program. University of Wisconsin-Oshkosh, 2004-2008

Member, African American Minor Counsel. University of Wisconsin-Oshkosh, 2006-2008

Member, Search Commijee for University FoundaVon President. University of Wisconsin-Oshkosh, 2005-
2006.

Member, Faculty Senate Libraries & InformaVon Services Commijee. University of Wisconsin-Oshkosh,
2005-2008.




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Chair/Member, Curriculum Commijee, Dept. of PoliVcal Science, University of Wisconsin-Oshkosh,
September 2002-2008.

Chair, Budget Commijee, Dept. of PoliVcal Science, University of Wisconsin-Oshkosh, September 2007-
2008.

Member, Personal Commijee, Dept. of PoliVcal Science, University of Wisconsin-Oshkosh, September
2007-2008.

Member, Search Commijee, Dept. of PoliVcal Science, University of Wisconsin-Oshkosh, September
2002-2008.

Faculty Director, the Stephens College Model UN Team, National Model United Nations Conference,
New York, New York, March, 2002.

Chair, Political Science Search Committee, Stephens College. August 2001 to May 2002.

Member, Editorial Advisory Board, Collegiate Press, San Diego, California. 2000 to 2001.

Chair, Harry Truman Scholarship Committee, Stephens College.2000 to 2002.

Member, Strategic Planning and Budgeting Committee, Stephens College. 2000 to 2002.


CONFERENCE PAPER/PROCEEDINGS

Liu, Baodong and Richard Engstrom. “Ranked Choice VoVng and the Minority VoVng Rights” paper
presented at the American PoliVcal Science AssociaVon Annual Conference. Seajle. September, 2021.

Liu, Baodong. “The Growth of ScienVﬁc Knowledge through Social CompuVng Networks” paper
presented at the 19th InternaVonal E-Society Annual Conference, 2021. (through Zoom).

Liu, Baodong, Nadia MahallaV, and Charles Turner. “Ranked-Choice VoVng Delivers RepresentaVon and
Consensus in PresidenVal Primaries.” Paper presented at the Electoral Reform Research Group
Conference organized by New America, American Enterprise InsVtute, Center on Democracy,
Development, and the Rule of Law, Stanford University and Unite America InsVtute, 2021. (through
Zoom).

Liu, Baodong. “Racial Prejudice behind the AnV-AﬃrmaVve AcVon Avtude of Asian Americans,” paper
presented at the Western PoliVcal Science AssociaVon Annual Conference. San Diego. April 2019.

Liu, Baodong, Porter Morgan and Dimitri KokoromyVs. “ImmigraVon, NaVon-State Contexts and Value
Changes of Ethnic Chinese” paper presented at the Midwest PoliVcal Science AssociaVon Annual
Conference. Chicago. April 2019.

Baodong Liu. “The Strategical Religious Voter”, paper presented at the Midwest PoliVcal Science
AssociaVon Annual MeeVng. Chicago, Illinois. April 2018.




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Baodong Liu, Nicole Baj and Zackery SVckney. “Authoritarianism for and against Trump”, paper
presented at the Annual MeeVng of Behavioral and Social Sciences, Las Vegas, Nevada. February 2018.

Baodong Liu. “The Strategic Religious Voter”, paper presented at the Oxford Symposium on Religious
Studies, Oxford, UK. March 2016.

Baodong Liu. “The PoliVcal Fate of Religious MinoriVes in the U.S. PresidenVal ElecVons.” paper
presented at the 19th Annual American AssociaVon of Behavioral and Social Sciences. Las Vegas, Nevada.
February 2016.

Baodong Liu. “The PoliVcal Fate of Religious MinoriVes in the U.S. PresidenVal ElecVons.” paper
presented at the Hawaii University InternaVonal Conferences on Arts, HumaniVes, Social Sciences and
EducaVon. Honolulu, Hawaii. January 2016.

Baodong Liu. “StaVsVcal Inference and VisualizaVon of Big Data in Urban Research”, paper presented at
the 3rd InternaVonal Conference on China Urban Development, Shanghai, China. June 2015.

Baodong Liu. “Race, Religion, and U.S. PresidenVal ElecVons,” paper presented at the Annual ConvenVon
of NaVonal AssociaVon for Ethnic Studies, Oakland, California. April 2014.

Baodong Liu. “Racial Context and the 2008 and 2012 US PresidenVal ElecVons,” paper presented at the
11th Annual InternaVonal Conference on PoliVcs & InternaVonal Aﬀairs, Athens, Greece. June 2013.

Baodong Liu. “DeracializaVon in the Post-Obama Era,” presented at the NaVonal Black PoliVcal ScienVst
AssociaVon Annual MeeVng. Las Vegas, Nevada. March 2012.

Baodong Liu. “Obama’s Racial CoaliVon,” paper presented at the Southwestern Social Science
AssociaVon Annual MeeVng. Las Vegas, Nevada. March 2011.

Geoﬀrey M. Draper, Baodong Liu, and Richard F. Riesenfeld. “IntegraVng StaVsVcal VisualizaVon Research
into the PoliVcal Science Classroom” InformaVon Systems Educators Conference. 2010. Nashville,
Tennessee. October 2010.

Baodong Liu. “Space and Time: An Empirical Analysis of 2008 PresidenVal ElecVon,” paper delivered at
the Annual American PoliVcal Science AssociaVon Conference, Toronto, Canada, September 2009.

Baodong Liu. “SequenVal and SpaVal VoVng: An Analysis of the 2008 DemocraVc Primaries,” paper
presented at the 2009 Midwest PoliVcal Science AssociaVon Annual Conference, Chicago, Illinois, April
2009.

Baodong Liu. “Social Capital, Race, and Turnout,” paper presented at the 2008 Midwest PoliVcal Science
AssociaVon Annual Conference, Chicago, Illinois, April 2008.

Baodong Liu and Lori Weber. “Social Capital and Voting Participation,” paper presented at the 2008
Southern Political Science Association Annual Meeting, New Orleans, Louisiana, January 2008.

Baodong Liu. “The 2006 New Orleans Mayoral ElecVon,” paper presented at the 2007 Midwest PoliVcal
Science AssociaVon Annual Conference, Chicago, Illinois, April 2007.


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James Vanderleeuw, Baodong Liu, and Erica Williams. “The PoliVcal RamiﬁcaVons of a Large-Scale
Natural Disaster,” paper presented at the 2006 annual conference, the American PoliVcal Science
AssociaVon, Philadelphia, September 2006.

Baodong Liu. “EI Extended Model and the Fear of Ecological Fallacy,” paper presented at the 2006
Midwest PoliVcal Science AssociaVon Annual MeeVng, Chicago, Illinois, April 2006.

Baodong Liu. “The Fear of Ecological Fallacy and the Methods to Conquer It” paper presented at the
Western PoliVcal Science AssociaVon Annual MeeVng, Oakland, CA, April 2005.

Baodong Liu. “The Whites Who Stayed in the City,” paper presented at the 2004 Midwest Political
Science Association Annual Meeting, Chicago, Illinois, April 2004.

Baodong Liu. “Whites as a Minority and the New Biracial Coalition,” paper presented at the 2004
Southern Political Science Association Annual Meeting, New Orleans, Louisiana, January2004.

Baodong Liu and James Vanderleeuw. “Economic Development Priorities and Central City/Suburb
Differences,” presented at the 2003 Midwest Political Science Association Annual Meeting, Chicago,
Illinois, April 2003.

James Vanderleeuw, Baodong Liu, and Greg Marsh, “Divided Leadership and Racial Reﬂexivity in
Memphis: An Analysis of the 1991, 1995 and 1999 Mayoral ElecVons,” presented at the 2003
Southwestern PoliVcal Science AssociaVon Annual MeeVng, San Antonio, Texas, April 2003.

Baodong Liu. “White Votes Count: The Effect of Black Candidates’ Qualifications on White Crossover
Voting,” paper presented at the 98th American Political Science Association Conference, Boston,
Massachusetts, September 2002.

Baodong Liu. “Searching for a ‘Qualified’ Black Candidate,” Proceedings of the 97th American Political
Science Association Conference, San Francisco California, September 2001.

Baodong Liu. “In Defense of an Ethical Rational Choice Theory,” paper delivered at the 2001 Jessie Ball
duPont Fund Summer Seminars for Liberal Arts College Faculty, the National Humanities Center,
Research Triangle, North Carolina, June 2001.

Baodong Liu. "Reconsidering Social Interaction Theory," presented at the 2001 Western Political Science
Association Annual Meeting. Las Vegas Nevada, March 2001.

James Vanderleeuw, Baodong Liu, and John Johnson. "Economic Development Priorities of City
Administrators: A Report on a Survey of City Administrators in Texas," presented at the 2001 Louisiana
Political Science Association Convention, Lamar Texas, March 2001.

Baodong Liu. "Racial Transition: Explaining the Curvilinear Relationship between Black Density and
White Crossover Voting," Proceedings of the 96th American Political Science Association Conference,
Washington DC, September 2000.

Baodong Liu and James Vanderleeuw. "Racial Transition: Explaining the Curvilinear Relationship
between Black Density and White Crossover Voting," presented at the 96th American Political Science
Association Conference, Washington DC, September 2000.


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Baodong Liu. "Electoral Law and the Russian Party System: A Comparative Study," presented at the 58th
Midwest Political Science Association Conference, Chicago Illinois, April 2000.

James Vanderleeuw and Baodong Liu. "Rolling Off in the Context of Context,” presented at the 30th
Southwestern Political Science Association Conference, Galveston Texas, March 2000.

Baodong Liu. “The Changing Nature of Electoral Competition in Japan.” Roundtable Discussant, the 52nd
Association of Asian Studies Annual Meeting, San Diego California, March 2000.

Baodong Liu. "Racial Context and White Voting Strategies," presented at the 95th American Political
Science Association Conference, Atlanta Georgia, September 1999.

Baodong Liu. "The President's Support in Congress: A Test of U.S. China Policy, 1980-1994," The 1997
Southern Political Science Association Convention, Norfolk Virginia, November 1997.

Baodong Liu. “Examining the Race Line: White Voting Behavior in New Orleans, 1980-1994,” The 27th
Southwestern Political Science Association Conference. New Orleans Louisiana, March 1997.

Baodong Liu. “Intrapartisan Defeats and the Nomination Strategies of the Japanese Liberal Democratic
Party in the 1993 Election,” The Sixth Annual Graduate Student Research Symposium. Oklahoma State
University. Stillwater Oklahoma, February 1995.

INVITED SPEAKER, ROUNDTABLE/PANEL DISCUSSANT

Baodong Liu. “Author Meets CriVcs Panel--Baodong Liu’s newly published book, PoliVcal VolaVlity in the
United States and its impact”. Southern PoliVcal Science AssociaVon Annual MeeVng. St. Pete Beach, FL.
January 2023.

Baodong Liu. “The Future of Political Polls.” Hinkley Forum. Hinkley Institute of Politics. 2021.

Baodong Liu. “Beyond the Bloc: Asian American Voting and Political Power.” Hinkley Forum. Hinkley
Institute of Politics. 2021.

Baodong Liu. “The 2020 Presidential Election and Congressional Election in Utah,” live interview on TV
by ABC4 News. October 2020.

Baodong Liu. “The 2020 Presidential Election and the Future of American Democracy”, invited lecture
given to Chinese Americans on Zoom. September 2020.

Baodong Liu, Michael Cobb, and Richard Engstrom. “Understanding the Support for Ranked-Choice
Voting in Two Southern Cities” talk given at the Electoral Reform Research Group, Research
Development Conference. Washington D.C. February 2020.

Baodong Liu. ““NaVon-State Context and Authoritarian Value Changes of Ethnic Chinese.” Talk given at
the workshop of The Clash of Authoritarianisms: Secularism versus Islamism in Turkey, University of Utah.
April 2019

Baodong Liu. “Trump’s Voters,” Panel Discussion on PresidenVal Primaries. Hinckley InsVtute of PoliVcs.
The University of Utah. Salt Lake City, Utah. March 2016


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Baodong Liu. “Big Data in the Social Sciences,” The ConsorVum for Research on China and Asia (CROCA)
and Policy at the Podium. The University of Utah. Salt Lake City, Utah. November 2014.

Baodong Liu. “DeracializaVon in the Historial PerspecVve,” the NaVonal Black PoliVcal ScienVst
AssociaVon Annual MeeVng. Las Vegas, Nevada. March 2012.

“EducaVng the Best Students in the 21st century: the New Ethnic Studies Major at the University of
Utah,” a presentaVon provided to the University Diversity Division Fall Retreat (March 12, 2011),the
Ethnic Studies Program (August, 17, 2011), and the Community Council (September 13, 2011), at the
University of Utah.

“QuanVtaVve Analysis: Ecological Inferences and the VoVng Rights Law,” a Ford FoundaVon Project, Duke
University. July 24-28, 2010.

“ElecVon 2008: A Symposium,” Hinckley InsVtute of PoliVcs, University of Utah. October 6, 2008.

“IMMIGRATION TODAY: What are the issues?” League of Women Voters of the Oshkosh Area Public
Forum, November 12, 2007.

Theme Panel: “Bleaching” New Orleans? Power, Race, and Place Axer Katrina, the American PoliVcal
Science AssociaVon Annual MeeVng, Philadelphia, September 2, 2006.

“2006 Midterm ElecVon Preview,” American Democracy Project, the University of Wisconsin, Oshkosh,
November 2, 2006.

“Analysis on the 2006 Midterm ElecVon Results,” American Democracy Project, the University of
Wisconsin, Oshkosh, November 9, 2006.

“The PoliVcs of New Americans: Studying Asian American PoliVcal Engagement,” the American PoliVcal
Science AssociaVon Annual MeeVng, Washington, D.C. September 3, 2005.

“Significance of Voting Rights Act,” Lawyers’ Committee for Civil Rights under Law, National Asian
Pacific American Legal Consortium, Mexican American Legal Defense and Educational Fund,
Washington DC: June 17-18, 2004.

“Protecting Democracy: Defining the Research Agenda for Voting Rights Reauthorization,” the Civil
Rights Project, Harvard University, Cambridge, MA. May 10, 2004.

Chair, the Politics of Ethnicity and Self-Determination Panel, International Studies Association-Midwest
Conference, St. Louis, Missouri, November 2, 2001.

PROFESSIONAL MEMBERSHIP

Pi Sigma Alpha, National Political Science Honor Society
American Political Science Association
Western Political Science Association
Midwest Political Science Association


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Association for Asian American Studies
Association of Chinese Political Studies
Southwestern PoliVcal Science AssociaVon

Serve as an Advisor/CommiUee Member for the following Graduate Students

Nicole Baj (Ph.D DissertaVon Chair)
Jake Peterson (Ph.D DissertaVon Chair)
Maj Haydon (Ph.D. DissertaVon Chair)
Porter Morgan (Ph.D. Commijee)
Charles Turner (Ph.D Commijee)
Geri Miller-Fox (Ph.D Commijee)
Alex Lovell (Ph.D Commijee)
Samantha Eldrudge (Ph.D Commijee)
Leslie Haligan-Park (Ph.D Commijee)
Nicole Cline (Master Commijee Chair)
Oakley Gordon (Master Commijee)
Michael McPhie (Master Commijee)




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                                     Appendix II

            Vo,ng Rights Cases in which I Served as an Expert Witness

McClure et al. v. Jeﬀerson County Commission et al. Case No. 2:23-cv_00443-MHH
(N.D., Alabama).

The South Carolina State Conference of the NAACP, et al., v. McMaster et al., Case
No. 3-21-cv-03302-JMC-TJH-RMG (Columbia Division, S.C. 2021).
Milligan, et al. v. Merrill, et al., Case No. 2:21-cv-01530-AMM and Thomas, et al. v.
Merrill, et al., Case No. 2:21-cv-01531-AMM (N.D. Ala. 2021).
Traci Jones et al v. Jeﬀerson County Board of EducaAon et al, (N.D. Ala. 2019).
CMA v. Arkansas, (E.D. Ark. 2019).
Alabama State Conference of NAACP v. Pleasant Grove, (N.D. Ala. 2018).
Navajo NaAon, et al, v. San Juan County, et al, (D. Utah 2012).
League of Women Voters of Florida, et al v. Detzner, et al, (Fla. 2012).
Anne Pope et. al. v. County of Albany and the Albany County Board of ElecAons
(N.D.N.Y. 2011).
Radogno, et al v. State Board of ElecAons, et al, (N.D. III. 2011).
NAACP v. St. Landry Parish et al, (W.D. La. 2003).
Arbor Hill Concerned CiAzens Neighborhood AssociaAon et al v. County of Albany,
(N.D.N.Y. 2003).
Hardeman County Branch of NAACP v. Frost, (Tenn. 2003).




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